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fp

Mayor & City Council
of Baltimore,

Plaintiff

vs.
‘Keene Corporation,.
et al.,

Defendants

-

"5331
‘) In the
j Circuit Court
) For
) Baltimore City

) Civil Action

). No, -84268068/cL25639

- The above- entitled case continued in trial

before the Honorable Joseph I,

Jury, on Wednesday,
10:10 a.m.

‘Reported by:

Pines, Judge, and -a

February 19, 1992, commencing at
Bonnie Gahagan
BETZ & STROUSE,’ INC.

114 West Mulberry Street

' Baltimore,
~ : (301) 752- 71733

-Maryland 21201

Betz.& Strouse, Inc.

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On behalf

On behalf

On behalf

“a

5332

APPEARANCES

of the Plaintiff:
Cari E. Tuerk, Esquire
Stanley J,. Levy, Esquire

Jordan C. Fox, Esquire

Ivan B. Rubin, Esquire
Elizabeth L. Case, Esquire
Mary Rose Cook, Esquire

Alan L. Billian, Esquire.

Otho Thompson, Esquire -

of Defendant United States Gypsum:
George Nilson, Esquire
Amelia C. Kittredge, Esquire

Grace L. Speights, Esquire

Awilda Marquez, Esquire

Robert Douglas, Esquire

of Defendant Asbestospray:
Thomas F. McDonough, Esquire

" Keith Truffer, Esquire

on behalf

of Defendant Hampshire Industries:
Peter W. Taliaferro, Esquire
Robert C. Lynott, Esquire

Robert Breschi, Esquire |

Betz & Strouse, Inc.

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further issue Dr. Longo can testify and has
testified, that science is approved, the science --
the procedures from the EPA in 1989 that panel they
assembled to the present procedures that Dr. Longo
used in this case and are approved by vote of that
subcommittee, those are all still the same
procedures and they are not hovel for the reasons I
have already given you because they can all be
traced back.

THE COURT: Mr. Rubin, I am prepared to
rule. ~

MR. RUBIN: Yes, sir. -

THE COURT: I am going to deny the motion

_to preclude Dr. Longo's téstimony with respect’ to

dust sampling. Even from some of the information
that has been furnished by defense I find that his
testimony is admissible on this subject and is
subject to cross~examination and I: founa that there.
certainly is some, I guess, foundation for the
techniques he has used. and for. the possible

~——

conclusions he might come to with respect to dust

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Betz & Strouse, Inc.
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samples.
MR.
May
Honor?

THE

THE

has -- 17, 17,

Thursdays and

appreciate if

° ‘5455

RUBIN: Thank you, your Honor.

we have like three minutes, your

COURT: All right.

I have a request,

CLERK: Juror 19 right here, she
she has college on Tuesdays and
she asked the Judge, she would

we could stop somewhere around 4:30 so

she can get to college at 5:20.

MR.
break. early.
THE

(In

FOX: That. is fine. That is when we

CLERK: : Tuesdays. and Thursdays.

open court, jury present.).

THE COURT: Counsel, ready to go?

THE CLERK: Doctor, I remind you you are
still under oath. Give your name for the record,
please.

THE WITNESS: William Edward Longo.

THE

CLERK: Thank you.

Betz & Strouse, Inc.
